                Case: 1:23-cv-02318
ILND 450 (Rev. 04/29/2016)                      Document #: 44 Filed: 05/17/24 Page 1 of 1 PageID #:574
                           Judgment in a Civil Action

                                    IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE
                                       NORTHERN DISTRICT OF ILLINOIS

    Victoria Rose Lee et al,

    Plaintiff(s),
                                                                  Case No. 23-cv-2318
    v.                                                            Judge LaShonda A. Hunt

    Dart Motors LLC et al,

    Defendant(s).

                                             JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                            which      includes       pre–judgment interest.
                                       does not include pre–judgment interest.

            Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

            Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
            Defendant(s) shall recover costs from plaintiff(s).


                    other: Motion to Dismiss for Lack of Jurisdiction [35] is granted. Civil case terminated.

This action was (check one):

         tried by a jury with Judge         presiding, and the jury has rendered a verdict.
         tried by Judge         without a jury and the above decision was reached.
         decided by Judge LaShonda A. Hunt on a motion to dismiss.



Date: 5/17/2024                                            Thomas G. Bruton, Clerk of Court

                                                           Kerwin Posley, Deputy Clerk
